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     Shari Rusk, Bar No. 170313
 1   Attorney at Law
     1710 Broadway, #111
 2   Sacramento, California 95818
     Tel: (916) 804-8656
 3   Fax: (916)443-1165
     Email: Rusklaw@comcast.net
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 5
                       IN THE UNITED STATES DISTRICT COURT
 6
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8                                       ) Case No.: CR.S. 07-303 GEB
     United States of America,           )
 9                                       ) STIPULATION AND ORDER TO CONTINUE
                Plaintiff,               ) STATUS CONFERENCE
10                                       )
          vs.                            ) Court: Hon. Judge Garland E.
11                                       ) Burrell, Jr.
                                         ) Time:   9:00 a.m.
12   Rebeca Salsedo, et.al.              ) Date:   October 16, 2009
                                         )
13              Defendants
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16        Defendant Rebeca Salsedo is charged in an indictment alleging
17   four counts of violations of 21 U.S.C. §§s 841(a)(1) & § 846 –
18   Distribution and Conspiracy to Distribute Cocaine; Possession of
19   Cocaine with Intent to Distribute; and Manufacture of Marijuana.       Ms.
20   Salsedo is charged in counts one and three. A status conference was
21   previously set for September 4, 2009.     The parties are involved in
22   defense investigation, as well as negotiations and all parties request
23   that the current status conference be continued to October 16, 2009,
24   and that date is available with the Court.
25        The parties agree that time should be excluded under 18 U.S.C. §
26   3161(h)(8)(i) for defense preparation and under local code T4.
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     Dated: September 3, 2009           Respectfully submitted,
 1

 2

 3                                     __/s/ Shari Rusk___
                                       Shari Rusk
 4                                     Attorney for Defendant
                                       Rebeca Salsedo
 5

 6                                       /s/ Jason Hitt
                                        Jason Hitt
 7                                      Assistant United States Attorney
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10
                                        ORDER
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          IT IS SO ORDERED.     The Court finds excludable time through
13
     October 16, 2009, based on Local Code T4, giving counsel reasonable
14
     time to prepare.
15
     DATED: 9/3/09
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                                        ______________________________________
18                                      Hon. Judge Garland E. Burrell, Jr.
                                        United States District Court
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